                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

INRE:                                              )
                                                   )       CASE NO.: 18-82502-CRJ-7
DENA K. MCNELLEY,                                  )
SSN: xxx-xx-6591                                   )       CHAPTER 7
                                                   )
    Debtor.                                        )
______________________________ )
                                                   )
DENA K. MCNELLEY,                                  )
                                                   )
        Plaintiff,                                 )
                                                   )
V.                                                 )       APNO.:         19-- - - - - -
                                                   )
VERIZON WIRELESS, LLC                              )
                                                   )
                                                   )
        Defendant.                                 )


            COMPLAINT FOR VIOLATION OF THE DISCHARGE ORDDER

       COMES NOW the Debtor in the above-styled Chapter 7 case, DENA K. MCNELLEY,
and shows unto this Honorable Court the following:

        1.      The Debtor filed a voluntary petition under 11 U.S.C. Chapter 7 on August 23
2018, and received her Bankruptcy Discharge on November 21,2018. The Court has
jurisdiction of this adversary proceeding pursuant to 28 U.S.C. §1334. Venue is proper under 28
U.S.C. §1408.

       2.    This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2)(A) in that it
concerns administration of the estate.

        3.      The Defendant, VERIZON WIRELESS, LLC, was a listed Creditor in the
Bankruptcy filed by the Debtor, DENA K. MCNELLEY. The Debtor specifically REJECTED
the cellular phone service agreement with the Defendant, VERIZON WIRELESS, LLC, on
Schedule "E" of her Bankruptcy Petition as well as her Statement of Intention.

        4.      After the Discharge was entered, the Plaintiff, DENA K. MCNELLEY, received
two bills, one dated November 19, 2018, and one dated January 19, making demands for
payment on the rejected account and contract. The November 19,2018 billing is attached hereto
as Exhibit "A" and the January 19. 2019 billing is attached hereto as Exhibit "B".




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        5.      The Defendant is in willful violation of the Discharge Order entered in this case
and has continuously made demands for payment from the Plaintiff on a discharged debt and
rejected cellular phone service agreement. Plaintiff has suffered emotional distress and mentakl
anguish and requests an award of her actual damages, attorney fees, and costs in bringing this
action.

        WHEREFORE, THE FOREGOING PREMISES CONSIDERED, the Plaintiff demands
Judgment against the Defendant for actual and punitive damages and attorney fees for the
Defendant's willful violation of the Discharge Order. Plaintiff prays for such other, further and
different relief as unto your Honor may seem just and proper in the premises.




                                             /s/ G. John Dezenberg, Jr.
                                             G. JOHN DEZENBERG, JR.
                                             Attorney for Plaintiff
                                             DEZENBERG & SMITH, PC
                                             908-C North Memorial Parkway
                                             Huntsville, Alabama 35801
                                             Phone: (256) 533-5097


SERVICE:

Verizon Wireless, LLC
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104




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           EXHIBIT ''A''




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  verizon"
  PO BOX489
  NEWARK, NJ 07101-0489




                                                                                 Quick Bill Summary                                           Oct 20- Nov 19

111 1111'1111'11 1•1''1• 11111•" l•h 1•'111111111l•••llllnlllii•IIJ
  DENA MCNELLEY                                             000485690
                                                                                 Previous Balance (see back for details)                                       $2,932.23
  169 CANTRELL RD                                             0111               No Payment Received                                                                $.00
  HAZEL GREEN, AL 35750-9445                                                     Balance Forward Due Immediately                                               $2,932.23

                                                                                 Account Charges and Credits                                                    $647.87
                                                                                 Surcharges
                                                                                      and Other charges &Credits                                                $157.90
                                                                                 Taxes, Governmental Surcharges & Fees                                           $30.37
                                                                                 Total Current Charges Due by December 11,2018                                  $836.14



  1
      ·\   .x . . verizon Wirere~·News}        ><                                Total Amount Due                                                         $3,768.37
              Save Time Go Online
       If you have questions about your bill, or
      need help with your devices, you can find
      answers using go.vzw.com/Support. You
       can also easily access Support through
           the My Verizon app. Try it today.




                                        Our records indicate your account is past due. Please send payment now to avoid service disruption.




  verizon"                                                                        Bill Date
                                                                                  Account Number
                                                                                                                       November 19, 2018
                                                                                                                       725418311-00001
                                                                                  Invoice Number                       7767720415
       DENA MCNELLEY
       169 CANTRELL RD
       HAZEL GREEN, AL 35750-9445
                                                                                   Total Amount Due
                                                                                   Make check payable to Verizon Wireless.
                                                                                   Please return this remit slip with payment.                        $3,768.37
                                                                                                                       $0,DDD.DD
                                                                                                      PO BOX 660108
                                                                                                      DALLAS, TX 75266-0108

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                            77677204150107254183110000100000083614000003768370
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               NOTICE: Bank account and routina numbers will be retained to enable fulum nHvmEmts hv nhnoP. nr nnlin11. To nnt nut r.:o~111-llRR-'iM.-nl!n1
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          verizon"'·                                                                  Invoice Number Account Number                  Date Due Page




                                                                             Payments
                                                                             Previous Balance                                                               $2,932.23
                                                                             No Pa;'lllsnt Roosivsd
                                                                             Total Payments                                                                           $.00
                                                                             Balance Forward Due Immediately                                                $2,932.23

...."'                                                                       Account Charges and Credits
.Ill.,.                                                                      Device Payment Charges
                                                                             Device Payment Buyout Charge (14- 24) Agreement 1058091998                               210.76
                                                                             Device Payment Buyout Charge (11 - 24) Agreement 1065079927                              126.84
                                                                             Device Payment Buyout Charge (6- 24) Agreement 1070738924                                310.27
                                                                             Total Device Payment Charges                                                            $647.87

                                                                             State Tax                                                                                  13.50
                                                                             Local Tax                                                                                  16.87
                                                                             Total Account Charges and Credits                                                       $678.24




Automatic Payment Enrollment for Account: 726418311.00001 DENA MCNEL.LEY
By signing below, you authorize Verizon Wireless to electronically debit your bank account each month for the total balance due on your account. The check you send will be used to
setup Automatic Payment. You IMII be notified each month of the date and amount of the debit 10 days in advance of the payment. You agree to receive all Auto Pay related
communications electronically. I understand and accept these terms. This agreement does not alter the terms of your existing Customer Agreement. I agree that Verizon Wireless is not
liable for erroneous bill statements or incorrect debits to my account. To wthdraw your authorization you must call Verizon Wireless. Check Wth your bank for any charges.
          1. Check this box.    2. Sign name in box below, as shown on the bill and date.             3. Return this slip with your payment Do not send a voided check .



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                                                                                                                                                                          •
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                                           Overview of Lines
Your Account's Plan                        Breakdown of Charges
Plan from 10/20-11/18                      Account Charges &Credits                        pg2             $678.24
Beyond Unlimited                           256-509-6215                                    pg4             $157.90
                                           Dena McNelley
15GB Mobile Hotspot                        256-763-3836                                    pg5                   $.00
                                           Dena McNelley
Unlimited monthly GB
                                           256-836-4518                                    pg6                   $.00
                                           Dena McNelley
, - - - - - - - - - - - - - - - - - ; Total Current Charges                                               $836.14
Have more questions about your charges?
Get details at www.vzw.com. Sign into My
Verizon.
                                           Breakdown of Shared Usage
                                                                              I   Minutes Used Messaging Used
                                                                                  10/20- 11/18 10/26 - 11/18
                                                                                                                  DataGBUsed
                                                                                                                  10/26 - 11/18
                                           256-509-6215                 pg4                  0              0                     0

                                           256-763-3836                 pg5                  0              0                     0

                                           256-836-4518                 pg6                  0              0                     0

                                           Total Used                                        0              0                     0

                                           Shared Allowance - Partial Month           unlimited      unlimited           unlimited

                                           Usage OVer Allowance                              0              0                     0

                                           Total Shared Usage Charges                      $.00           $.00               $.00




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Summary for Dena McNelley: 256-509-6215


Your Plan                            Monthly Charges
Plan from 10/26 -11/18               SurchargeS+
Beyond Unlimited                     Fed Universal Service Charge                                                                      7.90
(see pg 3)                           Other Charges and Credits
                                     Early Termination Fee                                                                          150.00
                                                                                                                                   $157.90

                                     Total Current Charges for 256-509-6215                                                       $157.90
                                     +Percentage-based taxes, fees, and surcharges apply to charges for this line, including overage
                                     charges, plus this line's share of account charges.




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Summary for Dena McNelley: 256-763-3836


Your Plan
Plan from 10/26-11/18
Beyond Unlimited
(see pg 3)




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Summary for Dena McNelley: 256-836-4518


Your Plan
Plan from 10/26-11118
Beyond Unlimited
(see pg 3)




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Need-to-Know Information

Customer Proprietary Network Information (CPNJ)

CPNI is information made available to us solely by virtue of our
relationship with you that relates to the type, quantity, destination,
technical configuration, location, and amount of use of the
telecommunications and interconnected VoiP services you
purchase from us, as well as related billing information. The
protection of your information is important to us, and you have a
right, and we have a duty, under federal law, to protect the
confidentiality of your CPNI.

We may use and share your CPNI among our affiliates and agents
to offer you services that are different from the services you
currently purchase from us. Verizon offers a full range of services,
such as television, telematics, high-speed Internet, video, and local
and long distance services. Visit Verizon.com for more information
on our services and companies.

If you don't want your CPNI used for the marketing purposes
described above, please notify us by phone any time at
800.333.9956 or online at vzw.com/myprivacy.

Unless you notify us in one of these ways, we may use your CPNI as
described above beginning 30 days after the first time we notify
you of this CPNI policy. Your choice will remain valid until you notify
us that you wish to change your selection. Your decision about use
of your CPNI will not affect the provision of any services you
currently have with us.

Note: This CPNI notice does not apply to residents of the state of
Arizona.

Explanation of Surcharges

Surcharges include (i) a Regulatory Charge (which helps defray
various government charges we pay including government number
administration and license fees); (ii) a Federal Universal Service
Charge (and, if applicable, a State Universal Service Charge) to
recover charges imposed on us by the government to support
universal service; and (iii) an Administrative Charge, which helps
defray certain expenses we incur, including: charges we, or our
agents, pay local telephone companies for delivering calls from our
customers to their customers; fees and assessments on our
network facilities and services; property taxes; and the costs we
incur responding to regulatory obligations. Please note that these
are Verizon Wireless charges, not taxes. These charges, and
what's included, are subject to change from time to time.

Bankruptcy Information

If you are or were in bankruptcy, this bill may include amounts for
pre-bankruptcy service. You should not pay pre-bankruptcy
amounts; they are for your information only. Mail bankruptcy-related
correspondence to 500 Technology Drive, Suite 550, Weldon
Spring, MO 63304.

Late Payment Information

A late payment applies for unpaid balances. The charge is the
greater of $5 or 1.5% per month, or as permitted by law. Failure to
pay bills on time may result in negative credit reporting.




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           EXHIBIT ''B''




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   verizon'-'
   POBOX489
   NEWARK, NJ 07101-0489
                                                                                    Billing period
                                                                                   Accoulltiiumber                 [)~~ 20, 2~1~1~~~~~~~~: (c,
                                                                                   Invoice number                             . '77~4812999 . .




,•. ,, .... ,, ..,,.,., ..,..,.. ,... ,.,,,.,,,.,, ..,,.,, .. ,,.,,., .. u.,        see lastp~ge fQr paym~'1t9ptlons.
   DENA MCNELLEY                                                     000471746      Questions? Visit VZ\fv';com/cont~ctus
                                                                                                                   ·  ·
   169 CANTRELL RD                                                     0101

   HAZEL GREEN, AL 35750-9445




                  Hi Dena, here•s your bill for this month.

                  8                   Balance past due                                                                       $1,064.13



                                      Total due                                                                 $1,064.13
                                                                                                       $1,064.13 due immediately




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verizon"
       ...
                 Billing period Dec 20, 2018 to Jan 19, 2019   I Account# 725418311-00001 I Invoice# 7794812999



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       ~         Balance past due
                 Previous balance                                                                   $3,768.37
                                                                                                    . -·   ~--·· ·--·-··-~-· --·-~·.




                 No payment received                                                                             $0.00
                 Bankruptcy PRE-Petition Chgs (Dec 24)                                                     -$314.45
                 Bankruptcy PRE-Petition Chgs (Dec 24)                                                 -$243.52
                 Bankruptcy PRE-Petition Chgs (Dec 24)                                                     -$417.04
                 Bankruptcy PRE-Petition Chgs (Dec 24)                                                     -$417.04
                 Bankruptcy PRE-Petition Chgs (Dec 24)                                                     -$417.04
                 Early Termination Fee for 256.509.6215 (Dec 24)                                       -$150.00
                 Bankruptcy Device Buyout for 256.509.6215 (Dec 24)                                    -$342.93
                 Bankruptcy Device Buyout for 256.763.3836 (Dec 24)                                        -$144.96
                 Bankruptcy Device Buyout for 256.836.4518 (Dec 24)                                   -$249.08
                 Other fees and surcharges                                                                        -$8.18



                                                                                      $1,064.13
                                                                                      Please pay immediately.




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     Additional information
    Customer Proprietary Network Information                             Bankruptcy Information
    (CPNI)
                                                                        If you are or were in bankruptcy, this bill may include
    CPNI is information made available to us solely by                  amounts for pre-bankruptcy service. You should not
    virtue of our relationship with you that relates to the             pay pre-bankruptcy amounts; they are for your
    type, quantity, destination, technical configuration,               information only. Mail bankruptcy-related
    location, and amount of use of the telecommunications               correspondence to 600 Technology Drive, Suite 660,
    and interconnected VoiP services you purchase from                  Weldon Spring, MO 63304.
    us, as well as related billing information. The protection
    of your information is important to us, and you have a               Late Payment Information
    right, and we have a duty, under federal law, to protect
    the confidentiality of your CPNI.                                   A late payment applies for unpaid balances. The
                                                                        charge is the greater .of $5 or 1.5% per month, or as
    We may use and share your CPNI among our affiliates                 permitted by law. Failure to pay bills on time may result
    and agents to offer you services that are different                 in negative credit reporting.
    from the services you currently purchase from us.
    Verizon offers a full range of services, such as                    No-cost Feature Information
    television, tetematics, high-speed Internet, video, and
    local and long distance services. Visit Verizon.com for
    more information on our services and companies.                     If your service plan includes an optional, no-cost
                                                                        feature (for example, some plans include a no-cost
                                                                        Apple Music option), electing this feature may affect
    If you don't want your CPNI used for the marketing
                                                                        the taxes, governmental fees, and governmental
    purposes described above, please notify us by phone
                                                                        surcharges that we bill and collect, even though your
    any time at 800.333.9966 or online at
                                                                        service plan price does not change.
    vzw.com/myprivacy.

    Unless you notify us in one of these ways, we may use                FUSCChange
    your CPNI as described above beginning 30 days after
    the first time we notify you of this CPNI policy. Your               The Federal Universal Service Charge (FUSC) is a
    choice will remain valid until you notify us that you wish           Verizon Wireless charge that is subject to change each
    to change your selection. Your decision about use of                 calendar quarter based on contribution rates
    your CPNI will not affect the provision of any services              prescribed by the FCC. On January 1, the FUSC
    you currently have with us.                                          increased to 5.46% percent of assessable wireless
                                                                         charges, other than separately billed Interstate and
    Note: This CPNI notice does not apply to residents of                international telecom charges. The FUSC on
    the state of Arizona.                                                separately billed interstate and international telecom
                                                                         charges decreased to 20.00% percent. For more
    Explanation of Surcharges                                            details, please call1-888-684-1888.

    Surcharges include (i) a Regulatory Charge (which
    helps defray various government charges we pay
    including government number administration and
    license fees); (ii) a Federal Universal Service Charge
    (and, if applicable, a State Universal Service Charge) to
    recover charges imposed on us by the government to
    support universal service; and (iii) an Administrative
    Charge, which helps defray certain expenses we incur,
    including: charges we, or our agents, pay local
    telephone companies for delivering calls from our
    customers to their customers; fees and assessments
    on our network facilities and services; property taxes;
    and the costs we incur responding to regulatory
    obligations. Please note that these are Verlzon
    Wireless charges, not taxes. These charges, and
    what's included, are subject to change from time to
    time.




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                            You•ve got options.
                            We have all sorts of ways to pay so that you can
                            pick the one that's right for you.


                                                          Pay with the My Verizon app
                                                          You can download the My Verizon app in
                                                          both the App Store and Google Play.




                                                          Pay online at vzw.com
                                                          Go to vzw.com and sign in to My Verizon
                                                          to pay your bill online.




                                                          Pay by phone: #PMT (#768)
                                                          Simply dial #PMT on your phone and
                                                          follow the instructions to pay.




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       verizon"                                                                                                           Billdat~
                                                                                                                          Account number
                                                                                                                                                                          January 19, 2019
                                                                                                                                                                          725418311-00001
                                                                                                                          Invoice number                                  7794812999
          DENA MCNELLEY
          169 CANTRELL RD                                                                                                 Total Amount Due
         .HAZEL GREEN, AL 35750-9445
                                                                                                                          Make check payable to Verizon Wireless.
                                                                                                                          Please return this remit slip with payment.
                                                                                                                                                                                                                       $1 , 064 • 13

                                                                                                                                                                     $0,DDD.DD
                                                                                                                                                   PO BOX 660108
                                                                                                                                                   DALLAS, TX 75266-0108

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                                                     77948129990107254183110000100000000000000001064130
                     Bank account and routing numbers will be retained to enable future payments by phone or online. To opt out. call1.866.544.0401.
         CaseNOTICE:
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